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                               UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

   IN THE MATTER OF BULLY 1                           CIVIL ACTION NO. 22-566
   (SWITZERLAND) GMBH, AS OWNER,
   AND NOBLE DRILLING (U.S.) LLC, AS                  JUDGE ROBERT R. SUMMERHAYS
   OWNER PRO HAC VICE, OF THE
   GLOBETROTTER II                                    MAGISTRATE CAROL B.
                                                      WHITEHURST

              CLAIMANT YURI REMEDIO’S ANSWER, DEFENSES, CLAIM,
                        AND THIRD PARTY COMPLAINT

         NOW INTO COURT, through undersigned counsel, comes Claimant, Yury Remedio, a

  person of the full age of majority who is a resident of and domiciled in the parish of Lafayette,

  State of Louisiana, who files this Answer, Defenses, Claim to the Complaint for Exoneration from

  or Limitation of Liability of Bully 1 (Switzerland) GmbH (“Bully 1”), as Owner, and Noble

  Drilling (U.S.) (“Noble”), as Owner Pro Hac Vice, of the GLOBETROTTER II, (collectively

  referred to as “Petitioners in Limitation”), and Third Party Complaint against Shell Oil Company

  and Shell Offshore, Inc., as follows:

                                          FIRST DEFENSE

         The Complaint fails to state a claim upon which relief may be granted.

                                          SECOND DEFENSE

         The Petitioners in Limitation are not entitled to exoneration from or limitation of liability

  in these proceedings because they had privity and knowledge of the unsafe, negligent, and

  unseaworthy conditions of the GLOBETROTTER II upon which this accident occurred and the

  negligent operating procedures employed on the GLOBETROTTER II, which were company

  policy and practice, and which caused the Claimant’s injuries on or about August 28, 2021.



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                                          THIRD DEFENSE

         The Claimant, Remedio, asserts that Petitioners in Limitation’s management knew of and

  approved the unsafe practices and unseaworthy conditions aboard the GLOBETROTTER II prior

  to the time the vessel was instructed to engage in assisting the GLOBETROTTER II, namely that

  the GLOBETROTTER II’s crew failed to observe hazards and employed unsafe customs in the

  navigation of its vessels. Said unsafe practices and methods of performing vessel work were

  company policy, custom, and practice and caused or contributed to the accident which is the basis

  of this suit and the losses resulting therefrom.

                                         FOURTH DEFENSE

         The Petitioners in Limitation have failed to comply with the requirements of the Limitation

  of Liability Act, 46 U.S.C. § 30501, et seq., including, without limitation, the failure to deposit

  adequate and proper security, which bars the Petitioners in Limitation’s request for limitation of

  liability. Claimant reserves the right to further challenge the adequacy / sufficiency of the security

  posted by the Petitioners in Limitation in this and/or any other related litigation.

                                          FIFTH DEFENSE

         The events culmination in injury to Yury Remedio were the result of the negligence, fault,

  want of due care, willful, wanton, and/or reckless conduct, and/or gross negligence on the part of

  the Petitioners in Limitation, solely or in concert with others is responsible, and/or the

  unseaworthiness of the vessel and/or other vessels within the flotilla and/or under common

  operation, control, supervision and/or enterprise at all pertinent times, all of which was within the

  privity and knowledge of the Petitioners in Limitation, for those reasons, the Complaint for

  Exoneration From or Limitation of Liability should be denied.

                                          SIXTH DEFENSE

         The events culminating in the injury of Yury Remedio were not the result of any
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  negligence, fault or want of due care on the part of Yury Remedio or those for whom he may be

  responsible.

                          INSUFFICIENCY OF FUND AND SECURITY

         Claimant asserts that the fund and security provided by the Petitioners in Limitation are

  insufficient and moves that the security given by the Petitioners in Limitation be increased on the

  ground that they are less than the value of the Petitioners in Limitation’s interest in the vessel

  and pending freight and avers:

     1. There is abundant evidence that the “Vessel valuation” relied upon by the Petitioners in

         Limitation is neither comprehensive, complete or accurate and said “Vessel valuation”

         grossly underestimates the value of the GLOBETROTTER II.

     2. For example, attached as “Exhibit 1” is a copy of the Certificate of Ownership and

         Encumbrance issued by the Liberia Maritime Authority of the Republic of Liberia, there is

         a “First Preferred Ship Mortgage” dated February 2021 and granted by Bully 1

         (SWITZERLAND) GMBH to JPMORGAN CHASE BANK, NA, as collateral agent and

         surety trustee in the total amount of “One Billion Three Hundred Fifty Million and No/100

         United States Dollars (USD $1,350,000,000) under the Credit Agreement, the Guaranty

         and Collateral Agreement, and other Credit Documents” found at “E.S.T. in Book PM 73

         at Page 191.”

     3. Said     Certificate   of   Ownership     and    Encumbrance      also   evidences    that     the

         GLOBETROTTER II is security for a “Preferred Ship Mortgage” in the total amount of

         $216,000,000 granted by granted by Bully 1 (SWITZERLAND) GMBH to “U.S. Bank

         National Association as Collateral Agent and Security Trustee.”

     4. Moreover, the “Vessel valuation” does not comply with nor satisfy the requirements of

         proof as is contemplated by 28 U.S.C. 30501, et seq., in that said “Vessel valuation:”
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              a.   does not address whether claims by Nobel Drilling and/or Bully 1 have resulted in

                   a monetary recovery for damage to the GLOBETROTTER II;

              b. does not address nor consider, other than in a conclusory way, the

                   GLOBETROTTER II’s “freight then pending” as contemplated by 46 U.S.C.A. §

                   30511(b)(1)(A), and which the United States Supreme Court has for over one

                   hundred and twenty-five years to mean the earnings of the voyage. See The Main

                   v. Williams, 152 U.S. 122, 14 S. Ct. 486, 38 L. Ed. 381, 2007 A.M.C. 2966 (1894).

      5. All of these facts reveal that the amount that the “Vessel valuation” purports to establish

          as the “post-incident value” of the GLOBETROTTER II is facially deficient and

          insufficient and is insufficient to carry out the provisions of the limitations statutes relating

          to claims in respect of loss of life or bodily injury.

      6. Pursuant to Federal Rules of Civil Procedure, Supplemental Admiralty Rule F(7) it is

          respectfully requested that this Court “cause due appraisement to be made of the value of

          the plaintiff's interest in the vessel and pending freight; and if the court finds that the deposit

          or security is either insufficient or excessive it shall order its increase or reduction.”

      7. Claimant reserves the right to supplement these paragraphs with other evidence of the value

          and undervaluation of the GLOBETROTTER II as needed and the case may be.

                                                 ANSWER

          And now, with full reservation of all defenses set forth above, the Claimant, Remedio,

  answers the allegations contained in the numbered paragraphs of the Complaint as follows.

                                                      1.

          Claimant admits the allegations in Paragraph 1 insofar as they relate to the status of Bully

  1 as a Swiss company. Claimant denies the remaining allegations contained Paragraph 1 for lack

  of information sufficient to justify a belief therein.
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                                                        2.

          Claimant admits the allegations in Paragraph 2 insofar as they relate to the status of Noble

  as a Delaware limited liability company. Claimant denies the remaining allegations contained

  Paragraph 2 for lack of information sufficient to justify a belief therein.

                                                        3.

          Claimant admits the allegations of Paragraph 3 to the extent they relate to Noble’s and

  Bully 1’s status as the owners of the GLOBETROTTER II. Claimant denied the remaining

  allegations contained in Paragraph 3 as they draw legal conclusions and for lack of information

  sufficient to justify a belief therein.

                                                        4.

          Claimant admits the allegations of Paragraph 4 insofar as they relate to the

  GLOBETROTTER II’s status. The remaining allegations of Paragraph 4 are denied for lack of

  information sufficient to justify a belief therein.

                                                        5.

          Claimant denies the allegations of Paragraph 5.

                                                        6.

          Claimant admits the allegations of Paragraph 6 to the extent they indicate that Hurricane

  Ida formed in the Gulf during the week of August 23, 2021. Claimant denies the remaining

  allegations of Paragraph 6 insofar as they improperly characterize the formation of the storm and

  for lack of sufficient basis to justify a belief therein.

                                                        7.

          Claimant admits the allegations in Paragraph 7 insofar as they reflect the filing of lawsuits

  arising out of the Claimants in Limitation’s negligence in permitting the GLOBETROTTER II to

  be affected by Hurricane Ida. The remaining allegations of Paragraph 7, including – but not limited
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  to – any denial of liability and/or any denial of any failure to pay maintenance and cure are denied.

                                                   8.

          Claimant denies the allegations in Paragraph 8 for lack of information sufficient to justify

  a belief therein.

                                                   9.

          Claimant denies the allegations of 9.

                                                  10.

          Claimant denies the allegations of 10 insofar as they infer or state that Claimants in

  Limitation bear no fault in causing the damages as set forth by the Claimant, Remedio, below.

  Insofar as Paragraph 10 admits damages and/or serious injuries were caused to several individuals,

  the same are admitted.

                                                  11.

          Paragraph 11 is admitted to the extent it sets forth the status of certain parties who have

  commenced litigation arising out of the accident at issue. Subject thereto, all remaining allegations

  of Paragraph 11 are denied.

                                                  12.

          Paragraph 12 does not require a response by the Claimant; to the extent a response is

  deemed required, Claimant denies that the Petitioners in Limitation are entitled to the benefit of

  limitation and/or exoneration.

                                                  13.

          Paragraph 13 is admitted to the extent that venue is appropriate in the Western District

  Louisiana (Lafayette Division). To the extent the allegations of Paragraph 13 contain any other

  legal conclusions, the same are denied.



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                                                   14.

           Paragraph 14 not require a response by the Claimant as it contains a legal conclusion;

  however, to the extent a response is deemed required, Claimant denies that the security posted is

  adequate.

                                                   15.

           Paragraph 15 not require a response by the Claimant as it contains a legal conclusion;

  however, to the extent a response is deemed required, Claimant denies that the security posted is

  adequate.

                                                   16.

           Claimant denies Paragraph 16 in its entirety, including the alternative defense that the

  Petitioners in Limitation are entitled limitation of liability as provided in 46 U.S.C. §§ 30501-

  30512.

                                                   17.

           Claimant denied Paragraph 17 in its entirety, including any allegations or defenses

  asserting limitation of liability or other relief as provided in 46 U.S.C. §§ 30501-30512.

                                                   18.

           Paragraph 15 not require a response by the Claimant. To the extent that a response is

  deemed required, the allegations are denied.

                                                 CLAIM

           And now, reserving all rights to prosecute his Jones Act, maintenance and cure, and general

  maritime claim for unseaworthiness in state court, in accordance with the provisions of Rule 9(h),

  Rule F(5) of the Supplemental Rules of Certain Admiralty and Maritime Claims, and the general

  maritime law of the United States, Claimant, Yury Remedio, hereby asserts his Claim against Bully

  1 (Switzerland) GmbH (“Bully 1”), as Owner, and Noble Drilling (U.S.) (“Noble”), as Owner Pro
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  Hac Vice, of the GLOBETROTTER II, (collectively referred to as “Petitioners in Limitation”), and,

  in support of his claim, respectfully represents the following.

                                                   I.

         At all times mentioned hereinafter, Remedio was employed by Advanced Tool Supply

  (“ATS”) of Broussard, Louisiana. Remedio was Jones Act Seaman working as an offshore

  technician in the Gulf of Mexico, off the cost of Louisiana and assigned to the GLOBETROTTER

  II.

                                                   II.

         At all times relevant herein, the Petitioners in Limitation owned, operated, manned,

  managed, and controlled the deep-water drillship GLOBETROTTER II, which was working in the

  Gulf of Mexico off the coast of Louisiana for the benefit of, and under the direction of, the

  Petitioners in Limitation.

                                                  III.

         At all times relevant herein, and in the days leading up to August 28, 2021, Hurricane Ida

  entered the Gulf of Mexico on a path directed towards the Louisiana coastline. During this period,

  the National Hurricane Center and the European Hurricane Model projected Hurricane Ida’s

  probable landfall to be along the Louisiana coast between Morgan City and Grand Isle Louisiana.

  As the storm grew, Hurricane Ida’s sustained winds were recorded as high as 150 mph with gusts

  up to 165 mph. On August 28, 2021, Hurricane Ida – as predicted – entered the Gulf and continued

  moving towards Southeast Louisiana as projected.

                                                  IV.

          At the same time, the GLOBETROTTER II and her crew continued operating in the Gulf

  of Mexico in the direct path of Hurricane Ida, despite the numerous warnings of clear and present

  danger posed by the quickly approaching category 5 hurricane. The Petitioners in Limitation
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  willfully defied and disregarded all weather information available to them, including the

  broadcasted weather information provided to mariners by the National Weather Service and

  National Hurricane Center.

                                                   V.

         In the hours preceding Hurricane Ida’s arrival at the GLOBETROTTER II’s location in the

  Gulf of Mexico, the GLOBETROTTER II unlatched from its sub-sea drilling activities and headed

  directly into the approaching storm. In failing to heed the clear weather information provided to

  them, the Petitioners in Limitation placed the GLOBETROTTER II and her crew almost directly in

  the middle of the storm, within 10 miles of the eye of the hurricane. As a result, GLOBETROTTER

  II and her crew were exposed to 150 mph winds, gusts up to 165 mph, and 80-95 foot sea swells.

                                                   VI.

         The environment to which the crew of the GLOBETROTTER II was subjected during the

  storm was nothing short of terrifying. As the GLOBETROTTER II listed hopelessly through the

  above and unrelenting high seas and winds, the crew of the GLOBETROTTER II were tossed

  around like rag dolls. The GLOBETROTTER II was swaying so substantially from side to side that

  her crew were – at many times – forced to walk on her walls rather than on the interior walkways.

  The weather conditions were so severe that the GLOBETROTTER II nearly capsized numerous

  times, leaving her crew helpless, terrified, and beaten: put simply, the crew all believed they were

  going to die.

                                                  VII.

         That the GLOBETROTTER II weathered the storm is nothing short of miraculous. Upon

  returning to shore, many of the crew aboard the GLOBETROTTER II were left so terrified by the

  this near-death experience that they refuse to return to sea.



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                                                  VIII.

         The injuries suffered by Remedio were caused by the legal fault, negligence, negligence

  per se, carelessness, and omissions of duty, as well as by recklessness, gross negligence, and willful

  and wanton disregard for the safety of the crew of the crew of the GLOBETROTTER II by the

  Petitioners in Limitation. In no way did any conduct or actions by Remedio contribute to his

  injuries which were caused by this traumatizing failure of the Petitioners in Limitation.

                                                   IX.

         The negligence and fault of the Petitioners in Limitation is shown more particularly in and

  the unseaworthiness of the vessel in question in the following non-exclusive particulars:

             A. In failing to instruct, train, and supervise the crew of the GLOBETROTTER II or,
                in the alternative, in failing to adequately instruct, train, and supervise the crew of
                the GLOBETROTTER II;

             B. In failing to place competent personnel in charge of the GLOBETROTTER II and
                its crew;

             C. In failing to timely and seasonably order the GLOBETROTTER II to move off its
                drilling location and out of the path of Hurricane Ida such that the vessel and its
                crew could be spared from the storm;

             D. In failing to timely and seasonably move the GLOBETROTTER II off its drilling
                location and out of the path of Hurricane Ida such that the vessel and its crew could
                be spared from the storm;

             E. In failing to promulgate, adopt, and enforce safety practices, policies, and
                procedures concerning hazard mitigation during a hurricane or, in the alternative,
                in failing to promulgate, adopt, and enforce adequate safety practices, policies, and
                procedures concerning hazard mitigation during a hurricane;

             F. In failing to timely and seasonably order the evacuation of the GLOBETROTTER
                II and its crew of all nonessential personnel well in advance of the known, projected
                approach of Hurricane Ida;

             G. In failing to properly train, instruct and guide the vessel operator as to how to safely
                make and promptly return to land upon being provided with the projections for the
                path and strength of Hurricane Ida such that this incident would have been avoided;

             H. In exercising poor judgment and unsafe vessel operation on the part of the vessel
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                 operators, land-based vessel owners/owners pro hac vice, and land-based corporate
                 management in the days leading up to this storm;

             I. In violating applicable United States Coast Guard and BSEE regulations; and

             J. In failing to provide a seaworthy vessel to the crew of the GLOBETROTTER II,
                including Remedio.

                                                  X.

         All of the above items, A through J, of the subject accident, were the direct, proximate,

  contributing, and legal causes of the accident subject herein, which have been the cause of damages

  sustained by Remedio, for which Remedio is allowed to recover money damages reasonable within

  the premises, pain, suffering, mental anguish, past and future economic losses, past and future

  medical and life care expenses, and to the extent any of the above acts and omissions were reckless,

  malicious, willful and/or wanton, punitive damages, as well as wrongful death damages arising

  therefrom including loss of society and companionship, loss of performance of material services,

  loss of love and affection, and mental anguish and grief.

                                                  XI.

         The fault and/or negligence of the Petitioners in Limitation as stated above was reckless,

  wanton and grossly negligent thus entitling petitioner to recover punitive damages herein.

                                  THIRD PARTY COMPLAINT

         AND NOW, in further response, and out of an abundance of caution, Claimant, Yury

  Remedio respectfully submits the following Third Party Claim:

                                                   1.

         Made third-party defendants herein are the following companies/corporations:

             A. Shell Oil Company, a foreign corporation organized and existing under the laws of
                the State of Delaware, with a principal place of business in Houston, Texas, and a
                designated office in Baton Rouge, Louisiana, which contracted with the Petitioners
                in Limitation to engage in the production of minerals in the Gulf of Mexico.


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              B. Shell Offshore, Inc., is a foreign corporation organized and existing under the laws
                 of the State of Delaware, with a principal place of business in Houston, Texas, and
                 a designated office in Baton Rouge, Louisiana which contracted with the Petitioners
                 in Limitation to engage in the production of minerals in the Gulf of Mexico.

                                                    2.

          Plaintiff specifically incorporates and adopts by reference thereto Paragraphs I through VII

  of the Claim asserted above.

                                                    3.

          At all times relevant herein, Shell Oil Company and Shell Offshore, Inc. (collectively the

  “Shell Defendants”) were the owners of the P012 well located in Mississippi Canyon Block 809,

  who contracted with the Petitioners in Limitation to conduct temporary abandonment operations

  at the said well.

                                                    4.

          Like the Petitioners in Limitation, the Shell Defendants were in possession of information

  showing that the area in which operations were being conducted was directly in the path of the

  incoming Hurricane Ida. Nonetheless, and as is detailed above with respect to the Petitioners in

  Limitation, the Shell Defendants failed to act on the information which was readily available to

  them and which unquestionably demonstrated that the GLOBETROTTER II and its crew were in

  imminent danger with respect to the rapidly approaching and strengthening Hurricane Ida.

                                                    5.

          Specifically, the Shell Defendants were negligent and at fault for the above-described harm

  to the Claimant, Remedio in the in the following non-exclusive particulars:

              A. In failing to instruct, train, and supervise the crew of the GLOBETROTTER II or,
                 in the alternative, in failing to adequately instruct, train, and supervise the crew of
                 the GLOBETROTTER II;

              B. In failing to place competent personnel in charge of the GLOBETROTTER II and
                 its crew;
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             C. In failing to timely and seasonably order the GLOBETROTTER II to move off its
                drilling location and out of the path of Hurricane Ida such that the vessel and its
                crew could be spared from the storm;

             D. In failing to timely and seasonably move the GLOBETROTTER II off its drilling
                location and out of the path of Hurricane Ida such that the vessel and its crew could
                be spared from the storm;

             E. In failing to promulgate, adopt, and enforce safety practices, policies, and
                procedures concerning hazard mitigation during a hurricane or, in the alternative,
                in failing to promulgate, adopt, and enforce adequate safety practices, policies, and
                procedures concerning hazard mitigation during a hurricane;

             F. In failing to timely and seasonably order the evacuation of the GLOBETROTTER
                II and its crew of all nonessential personnel well in advance of the known, projected
                approach of Hurricane Ida;

             G. In failing to properly train, instruct and guide the vessel operator as to how to safely
                make and promptly return to land upon being provided with the projections for the
                path and strength of Hurricane Ida such that this incident would have been avoided;

             H. In exercising poor judgment and unsafe vessel operation on the part of the vessel
                operators, land-based vessel owners/owners pro hac vice, and land-based corporate
                management in the days leading up to this storm; and

             I. In violating applicable United States Coast Guard and BSEE regulations.

                                                   6.

         All of the above items, A through I, of the subject accident, were the direct, proximate,

  contributing, and legal causes of the accident subject herein, which have been the cause of damages

  sustained by Remedio, for which Remedio is allowed to recover money damages reasonable within

  the premises, pain, suffering, mental anguish, past and future economic losses, past and future

  medical and life care expenses, and to the extent any of the above acts and omissions were reckless,

  malicious, willful and/or wanton, punitive damages, as well as wrongful death damages arising

  therefrom including loss of society and companionship, loss of performance of material services,

  loss of love and affection, and mental anguish and grief.



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                                                    7.

          The fault and/or negligence of the Shell Defendants as stated above was reckless, wanton

  and grossly negligent thus entitling petitioner to recover punitive damages herein.

          WHEREFORE, Claimant, Yury Remedio having fully answered, prays that upon further

  proceedings the Court should enter judgment against the Petitioners in Limitations and in favor of

  the Claimant, Yury Remedio, finding that the Petitioners in Limitation are not entitled to limitation

  of or exoneration from liability, with all costs of this matter taxed to the Petitioners in Limitation.

  Additionally, and out of an abundance of caution, Claimant, Yury Remedio, prays for reasonable

  relief and/or damages against Third Party Defendants, Shell Oil Company and/or Shell Offshore,

  Inc., which arise out of their negligence in causing the aforesaid injuries and damages to Claimant,

  Yury Remedio. Solely to the extent the Claimant, Yury Remedio, is not allowed to proceed on his

  claims against the Petitioners in Limitation and/or Shell Oil Company and/or Shell Offshore, Inc.,

  in state court upon making the proper motion and stipulation, Claimant, Yury Remedio prays for

  a trial by jury herein as to all issues triable by a jury and prays for damages, pre-judgment interest,

  and all other relief to which he is entitled.

                                                         Respectfully submitted,

                                                         BROUSSARD & DAVID, LLC

                                                         /s/ Jerome H. Moroux

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                                   CERTIFICATE OF SERVICE

         I, the undersigned, counsel for Plaintiff, do hereby certify that I have this day filed the

  above and foregoing document using the Court’s ECF electronic filing system.

         Lafayette, Louisiana, this 7TH day of April, 2022.

                                                         /s/ Jerome H. Moroux

                                                        JEROME H. MOROUX




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